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July 10, 2025
VIA ECF
Hon. Lewis J. Liman
United States District Court
Southern District of New York
500 Pearl Street, Room 1620
New York, NY 10007

Re:      Lively v. Wayfarer Studios LLC et al., No. 1:24-cv-10049-LJL;
         rel. Wayfarer Studios LLC et al. v. Lively et al., No. 1:25-cv-00449-LJL

Dear Judge Liman:
On behalf of Wayfarer Studios LLC, Justin Baldoni, Jamey Heath, Steve Sarowitz, It Ends With
Us Movie LLC, Melissa Nathan, The Agency Group PR LLC, and Jennifer Abel (collectively, the
“Wayfarer Parties”), we write pursuant to Rule 4.b of Attachment A to Your Honor’s Individual
Rules to respectfully request that the Court preliminarily seal Exhibits A, B, C, and D to the
Wayfarer Parties’ Motion to Compel, filed contemporaneously herewith.

Exhibit A is Blake Lively’s Amended Initial Disclosures. Exhibit B is Ms. Lively’s Responses and
Objections to the Wayfarer Parties’ First Set of Requests for Production of Documents. Exhibit C
is Ms. Lively’s Responses and Objections to the Wayfarer Parties’ First Set of Interrogatories.
Exhibit D is Ms. Lively’s Responses and Objections to Wayfarer Studios LLC’s Fourth Set of
Requests for Production of Documents. Those documents have been designated as confidential by
Ms. Lively.

In accordance with Rule 4.b of Attachment A, the Wayfarer Parties respectfully request that the
Court not rule on this letter-motion to seal for one week, so that the parties can meet and confer,
and Ms. Lively may file a motion for continued sealing if she so chooses.

Respectfully submitted,
/s/ Kevin Fritz
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